AO 245B (WESTERN DISTRICT OF NORTH Rev. 4/04) Judgment in a Criminal Case



                                                United States District Court
                                           For The Western District of North Carolina
UNITED STATES OF AMERICA                                                        JUDGM ENT IN A CRIM INAL CASE
                                                                        (For Offenses Com m itted On or After Novem ber 1, 1987)
      V.
                                                                        Case Num ber: 3:04CR271-01
TRACY HOW ARD
                                                                        USM Num ber: 19790-058
                                                                        Richard A. Culler
                                                                        Defendant’s Attorney

THE DEFENDANT:
     Pleaded guilty to count(s) .
     Pleaded nolo contendere to count(s) which was accepted by the court.
X    was found guilty on count(s) 1s,2s-13s,19s-21s after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                            Date Offense
 Title and Section             Nature of Offense                                            Concluded                      Counts

 18:371                        Conspiracy to com m it offense against U.S.                 October 2004                    1s

 18:1952(a)                    Interstate wire transfer of funds in aid of racketeering     12/31/2003                     2s-11s
                               enterprises and aiding and abetting the sam e (18:2)

 18:1956(h)                    Conspiracy to com m it m oney laundering                    October 2004                    12s

 21:846                        Conspiracy to possess with intent to distribute cocaine      October 2004                   13s
                               base and using a person under 18 years of age in
                               furtherance thereof (21:841: 861)

 21:841                        Possession with intent to distribute cocaine base and        9/16/2004                      19s
                               aiding and abetting sam e. (18:2)

 18:924(c)                     Using and carrying a firearm in furtherance of a drug        9/16/04                        20s
                               trafficking crim e and aiding and abetting sam e. (18:2)

 18:922(g)()                   Possession of a firearm by a convicted felon                 9/16/04                        21s

     The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

      X Count(s) 1, 7-9 (is)(are) dism issed on the m otion of the United States.
__    The defendant has been found not guilty on count(s) .

      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of nam e,
residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully paid. If
ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in the
defendant’s econom ic circum stances.

                                                                                Date of Im position of Sentence: 1/18/07




                                                                                Date:          February 21, 2007




                      Case 3:04-cr-00271-RJC                 Document 358               Filed 02/21/07      Page 1 of 5
AO 245B (WESTERN DISTRICT OF NORTH Rev. 4/04) Judgment in a Criminal Case

Defendant: TRACY HOW ARD                                                                                         Judgm ent-Page 2 of 5
Case Num ber: 3:04CR271-01

                                                             IM PRISONM ENT

      The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of Counts
1s - 11s: SIXTY MONTHS each count to run concurrently. Count 12s: TW O HUNDRED FORTY (240) MONTHS to run concurrently.
Count 13s: LIFE to run concurrently. Count 19s: FOUR HUNDRED EIGHTY (480) MONTHS to run concurrently. Count 21s: ONE
HUNDRED TW ENTY (120) MONTHS to run concurrently. Count 20s: SIXTY (60) MONTHS to run consecutively to all other counts .




X    The Court m akes the following recom m endations to the Bureau of Prisons:
      Participation in a sex offender treatm ent program if eligible.
      Participation in Inm ate Financial Responsibility Program .


X    The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

           At        On     .
           As notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


           Before 2 pm on .
           As notified by the United States Marshal.
           As notified by the Probation or Pretrial Services Office.

                                                                 RETURN

I have executed this Judgm ent as follows:




       Defendant delivered on                                    To

At                                                 , with a certified copy of this Judgm ent.


                                                                                  United States Marshal

                                                                         By
                                                                                  Deputy Marshal




                       Case 3:04-cr-00271-RJC                Document 358              Filed 02/21/07      Page 2 of 5
AO 245B (WESTERN DISTRICT OF NORTH Rev. 4/04) Judgment in a Criminal Case


Defendant: TRACY HOW ARD                                                                                                                     Judgm ent-Page 3 of 5
Case Num ber: 3:04CR271-01

                                                                   SUPERVISED RELEASE

     Upon release from im prisonm ent, the defendant shall be on supervised release for a term of Counts 1s-12s: THREE (3)
YEARS each count to run concurrently. Count 20s-21s: THREE (3) YEARS each count to run concurrently. Count 13s: LIFE to run
concurrently. Count 19s: LIFE to run concurrently.

      The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low risk
      of future substance abuse.

                                                     STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.    The defendant shall not commit another federal, state, or local crime.
2.    The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
3.    The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the
      term of supervised release on a schedule to be established by the court.
4.    The defendant shall provide access to any personal or business financial information as requested by the probation officer.
5.    The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.    The defendant shall not leave the Western District of North Carolina without the permission of the Court or probation officer.
7.    The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete written
      report within the first five days of each month.
8.    A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release from
      custody of the Bureau of Prisons.
 9.   The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.   The defendant shall support his or her dependents and meet other family responsibilities.
11.   The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by the
      probation officer.
12.   The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
13.   The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or other
      controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.   The defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer, until such time
      as the defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a drug test within 15 days of release
      on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions of
      18:3563(a)(5) or 18:3583(d), respectively.
15.   The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
16.   The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless granted
      permission to do so by the probation officer.
17.   The defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U.S. Probation Officer and such other law
      enforcement personnel as the probation officer may deem advisable, without a warrant; and failure to submit to such a search may be grounds for revocation
      of probation or supervised release. The defendant shall warn other residents or occupants that such premises or vehicle may be subject to searches
      pursuant to this condition.
18.   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband observed
      by the probation officer.
19.   The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcement officer.
20.   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the Court.
21.   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal
      history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such notification
      requirement.
22.   If the instant offense was committed on or after 4/24/96, the defendant shall notify the probation officer of any material changes in defendant’s economic
      circumstances which may affect the defendant’s ability to pay any monetary penalty.
23.   If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the electronic monitoring
      or other location verification system program based upon your ability to pay as determined by the probation officer.
24.   The defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDITIONAL CONDITIONS:

25.   The defendant shall have no direct or indirect ontach, at any time, for any reason with the victims, the victims’ families or affected parties in this matter unless
      provided with specfic written authorization to do so in advance by the U.S. Probation Officer.
26.   The defendant shall submit to a psycho-sexual evaluation by a qualified mental health professional experienced in evaluating and managing sexual offenders
      approved by the U.s. Probation Officer. The defendant shall complete the treatment recommendations and abide by all of the rules, requirements, and
      conditions of the program until discharged. He shall take all medications as prescribed.
27.   The defendant shall submit to risk assessments, psychological and physiological testing, which may include, but is not limited to a polygraph examination
      and/or Computer Voice Stress Analyzer (CVSA), or other specific tests to monitor his/her compliance with probation or supervised release and treatment
      conditions, at the direction of the U.S. Probation Officer.
28.   The defendant's residence and employment shall be approved by the U.S. Probation Officer. Any proposed change in residence or employment must be
      provided to the U.S. Probation Officer at least 10 days prior to the change and pre-approved before the change may take place.
29.   The defendant shall register, as required by local, State or Federal statute and/or regulation, with any local and/or State Sex Offender Registration agency in
      any state where the defendant resides, is employed, carries on a vocation, or is a student within ten (10) days of the commencement of supervision, address
      change, or employment change. He/She shall provide proof of registration to the U. S. Probation Officer.

                         Case 3:04-cr-00271-RJC                       Document 358                Filed 02/21/07             Page 3 of 5
AO 245B (WESTERN DISTRICT OF NORTH Rev. 4/04) Judgment in a Criminal Case


Defendant: TRACY HOW ARD                                                                                             Judgm ent-Page 4 of 5
Case Num ber: 3:04CR271-01

                                                  CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


              ASSESSM ENT                                         FINE                                     RESTITUTION

                 $1,600.00                                        $0.00                                         $0.00



                                                                   FINE


      The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X         The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X         The interest requirem ent is waived.

          The interest requirem ent is m odified as follows:


                                                 COURT APPOINTED COUNSEL FEES

 X        The defendant shall pay court appointed counsel fees.

          The defendant shall pay $                Towards court appointed fees.




                      Case 3:04-cr-00271-RJC                   Document 358           Filed 02/21/07          Page 4 of 5
AO 245B (WESTERN DISTRICT OF NORTH Rev. 4/04) Judgment in a Criminal Case


Defendant: TRACY HOW ARD                                                                                                 Judgm ent-Page 5 of 5
Case Num ber: 3:04CR271-01


                                                        SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

      A               Lum p sum paym ent of $               Due im m ediately, balance due

                      Not later than           , or
                      In accordance         (C),        (D) below; or

      B    X          Paym ent to begin im m ediately (m ay be com bined with          (C),      (D) below); or

      C               Paym ent in equal             (E.g. weekly, m onthly, quarterly) installm ents of $             To com m ence
                      (E.g. 30 or 60 days) after the date of this judgm ent; or

      D    X          Paym ent in equal m onthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50          To com m ence 60
                      (E.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire am ount of
                      crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the U.S. Probation
                      Officer shall pursue collection of the am ount due, and m ay request the court to establish or m odify a paym ent
                      schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court costs:
      The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of im prisonm ent
paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalty paym ents are
to be m ade to the United States District Court Clerk, 401 W est Trade Street, Room 210, Charlotte, NC 28202, except those
paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal m onetary penalty paym ents are
to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                       Case 3:04-cr-00271-RJC                   Document 358             Filed 02/21/07           Page 5 of 5
